                     EXHIBIT 12




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                               2011 U.S. Dist. LEXIS 25102,   *



            ANGELA D. WALTON, Plaintiff, v. NORTH CAROLINA DEPARTMENT OF
              AGRICULTURE AND CONSUMER SERVICES and ROBERT N. BROGDEN,
                                  JR. , Defendants.
                                  NO. 5:09-CV-302-FL
              UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
                          NORTH CAROLINA, WESTERN DIVISION
                            2011 U.S. Dist. LEXIS 25102

                              March 11, 2011, Decided
                               March 11, 2011, Filed
SUBSEQUENT HISTORY: Motions ruled upon          examination (DE #56) . Plaintiff timely
by Walton v. N.C. Dep 't of Agric. &            filed a response in opposition. In
Consumer Servs., 2011 U.S. Dist. LEXIS          this posture, the issues raised are
77322 (E.D.N.C., July 14, 2011)                 ripe for review. For the reasons that
                                                follow,  the Department's motion is
PRIOR HISTORY: Walton v. N.C. Dep't of          granted.
Agric. & Consumer Servs., 2010 U.S.
Dist. LEXIS 143680 (E.D.N.C., Feb. 17,          STATEMENT OF THE CASE
2010)
                                                    Plaintiff initiated this action in
                                                the Superior Court of Wake County,
COUNSEL:   [*1] For Angela D. Walton,           North Carolina,     on June 1,      2009,
Plaintiff: David G. Schiller, LEAD              asserting various claims        [*2] for
ATTORNEY,    Schiller    &   Schiller,          relief    arising    out    of    alleged
Raleigh, NC; Luther Donald Starling,            employment discrimination. The matter
Jr., LEAD ATTORNEY, Daughtry, Woodard,          was   removed   from   state   court   by
Lawrence & Starling, Smithfield, NC;            defendants on July 2, 2009, on the
Marvin    Schiller,   LEAD   ATTORNEY,          basis of federal question jurisdiction
Schiller & Schiller PLLC, Raleigh, NC.          pursuant to 28 U.S.C. § 1331.
                                                    Plaintiff's       second        amended
For   North    Carolina  Department   of        complaint, filed November 17, 2009,
Agriculture    and Consumer    Services,        alleges    that   while     plaintiff    was
Defendant:     Anne   J.  Brown,    LEAD        employed by the Department, she was
ATTORNEY, NC Department of Justice,             subjected     to     continuous       sexual
Raleigh,   NC;   John R.   Corne,   N.C.        harassment       by     her       immediate
Department of Justice, Raleigh, NC.             supervisor, defendant Robert Brogden,
                                                Jr.   ("Brogden") . On these grounds,
For Robert N. Brogden, Jr., Defendant:          plaintiff asserted five claims for
Joy   Rhyne   Webb,   LEAD    ATTORNEY,         relief. Plaintiff's first claim for
Merritt,  Flebotte,   Wilson,   Webb &          relief was against         the Department
Caruso, PLLC, Durham, NC.                       pursuant to Title VII of the Civil
                                                Rights Act, 42 u.s.c. § 2000e-5(f) et
JUDGES:  LOUISE W.    FLANAGAN,     Chief       seq. Second, plaintiff stated a claim
United States District Judge.                   for assault and battery against the
                                                Department      and    Brogden.       Third,
OPINION BY: LOUISE W. FLANAGAN                  plaintiff     stated     a     claim     for
                                                intentional infliction of emotional
OPINION                                         distress against the Department and
                                                Brogden. Fourth, plaintiff stated a
ORDER                                           claim for negligent         infliction of
   This matter comes before the court           emotional     distress       against     the
on motion by defendant North Carolina           Department    and     Brogden.     Finally,
Department of Agriculture and Consumer          plaintiff's fifth claim for relief
Services ("the Department") to compel           asserted    violations     of   the    North
plaintiff  to  submit   to   a  mental          Carolina    Constitution      against    the
                                                Department.


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                                                       Civil Procedure to compel plaintiff to
    On February 17, 2010, the court                    submit    to   a    mental   examination
took    up    and    considered    several             consisting   of:    (i)    a psychiatric
dispositive motions then pending. In                   examination by George Patrick Corvin,
 [*3] that order, the court dismissed                  M.D.,   D.F.A.P.A.,     a physician and
claims stated against the Department                   psychiatrist duly licensed by and
for assault and battery, negligent                     practicing medicine in the State of
infliction of emotional distress, and                  North     Carolina;      and    (ii)   a
intentional infliction of emotional                    psychological examination and one or
distress, on the grounds that the                      more psychological tests by Ginger C.
doctrine of sovereign immunity barred                  Calloway, Ph.D., HSP-P, a psychologist
those    claims.    Further,   the   court             duly licensed    [*5] by and practicing
dismissed plaintiff's claim for relief                 psychology in the state of North
pursuant     to    the   North    Carolina             Carolina.
Constitution. As a result of that
order, plaintiff's Title VII claim                     A. Requirements of Rule 35
remained       pending     against     the
Department, and all claims stated in                      Rule 35(a) provides that the court
the second amended complaint remained                  "may order a party whose mental or
pending against Brogden.                               physical condition,   including blood
                                                       group, is in controversy to submit to
   The court in the following months                   a physical or mental examination by a
revised its scheduling order several                   suitably    licensed    or    certified
times, granting multiple extensions of                 examiner." Fed.R.Civ.P. 35(a) (1). "The
time    to   complete    discovery.   Most             order: (A} may be made only on motion
recently, on November 24, 2010, the                    for good cause and on notice to all
court    extended    the    deadline   for             parties and the person to be examined;
completion of discovery to February                    and (B) must specify the time, place,
21, 2011. On February 4, 2011, the                     manner, conditions, and scope of the
Department filed the instant motion                    examination, as well as the person or
pursuant to Rule 35 for an order                       persons   who    will   perform    it."
directing plaintiff to submit to a                     Fed.R.Civ.P.      35(a) (2).
mental    examination.    The   Department
requested that plaintiff be submitted                      "Rule    35    requires        (1)   an
to    the    proposed    examination    on             affirmative showing by the movant of
February 28, 2011, and March 3, 2011.                  • good    cause'    for      ordering    an
Plaintiff     filed    a    response    in             independent medical examination, and
opposition on February 9, 2011.                        (2)    a showing that the mental or
                                                       physical    condition     is    truly   'in
    The      court     recognizes    the               controversy. '"    E. E. 0. C.    v.   Maha
Department 's motion has been pending                  Prabhu,  Inc., 2008 U.S.  Dist. LEXIS
 [*4]   since February 9,      2011, and               74393, 2008 WL 2559417, *2 (W.D.N. C.,
regrets that the press of the court's                  June 23, 2008). The Supreme Court has
docket has prevented decision from                     recognized that the twin requirements
being rendered within the discovery                    of "good cause" and "in controversy"
period, which expired on February 21,                  are distinct concepts which must be
2011. The court notes, however, the                    addressed       separately.       See
Department's     motion   for   Rule  35               Schlagenhauf, 379 U.S. at 118-19; see
examinations, made on the eve of the                   also Maha Prabhu, 2008 U.S. Dist.
close of discovery, proposed dates for                 LEXIS    74393,    2008   WL   2559417   at   *3
examinations that do not adhere to the                 (holding that the magistrate judge
discovery period set forth clearly by                  committed clear error by not        [*6]
the court in previous order, where                     identifying    how   the   specific  and
examination was requested after its                    separate     "good    cause"    and  "in
expiration. Accordingly, although the                  controversy"       requirements     were
Department's motion shall herein be                    satisfied) .
granted, it is necessarily required
that the court set specific deadlines                    Unlike other tools of discovery, a
for the conduct of the examinations,                  physical or mental examination under
which are set forth more specifically                 Rule 35 requires more than a showing
in the conclusion of this order.                      of mere relevance. See Schlagenhauf v.
                                                      Holder, 379 u.s. 104, 113, 85 s. Ct.
DISCUSSION                                            234, 13 L. Ed. 2d 152 (1964); see also
                                                      Guilford Nat' 1 Bank of Greensboro v.
   The   Department        seeks   pursuant    to     S. Ry. Co., 297 F.2d 921, 923-24 (4th
Rule   35 (a)   of   the    Federal   Rules    of



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Cir.     1962).   Indeed,  "the specific                  plaintiff has offered her
requirement of good cause would be                        own   [*8] expert testimony
meaningless if good cause could be                        to supplement her claim of
sufficiently established by merely                        emotional distress; or (5)
showing that the desired materials are                    the plaintiff concedes that
relevant, for the relevancy standard                      her medical condition is 'in
has already been imposed by Rule                          controversy'   pursuant   to
26 (b) . " Guilford, 297 F. 2d at 924. To                 Rule 35.
the contrary, Rule 35 requires a more
heightened evaluation by the district
court. "Under Rule 35, the invasion of             Smith v. Board of Governors, No. 7:08-
the individual's privacy by a physical             CV-30-D, 2008 U.S. Dist. LEXIS 91271,
or mental examination is so serious                2008 WL 4877131, at *1 (E.D.N.C. Nov.
that a strict standard of good cause,              10, 2008) (citing Maha Prabhu, 2008
supervised by the district courts, is              U.S.  Dist.   LEXIS  74393,  2008  WL
manifestly appropriate." Id.                       2559417, at *3) .

B. The Department's Motion                             Here,    the     plaintiff's       mental
                                                   condition is clearly in controversy.
    The Department seeks a court order             Plaintiff     asserts     that     she    has
directing the plaintiff to appear for              suffered severe emotional distress,
and submit to a mental examination                 and has asserted specific causes of
consisting    of:     (1)    a    psychiatric      action for intentional and negligent
examination by Dr.          George    Patrick      infliction of emotional distress in
Corvin;    and    (2)     a     psychological      addition   to    her    Title VII       claim
examination by Dr.          [*7] Ginger C.         against the Department. 1 Admittedly,
Calloway. The Department submits that              some    courts    have    held     that    an
these examinations are necessary to                emotional     distress    claim,     without
reach an independent determination as              more, does not place a plaintiff's
to plaintiff's alleged emotional and               emotional condition in controversy.
mental injuries and conditions, as                 See Turner v. Imperial Stores, 161
well as to measure the reliability of              F.R.D.    89,     97    (S.D. Cal.     1995).
the opinions submitted by plaintiff's              However, this is not a settled issue.
experts,   who have determined that                See Nuskey v. Lambright, 251 F.R.D. 3,
plaintiff      suffers         from     Major      2008 WL 2388914, at *2 (disagreeing
Depressive Disorder and Post Traumatic             with Turner and concluding that an
Stress Disorder as a result of the                 employee seeking compensatory damages
alleged sexual harassment. Plaintiff               for emotional injury placed her mental
offers no substantive opposition to                condition in controversy for purposes
the propriety of the Department's Rule             of Rule 35) . Additionally, plaintiff
35 motion,     but rather opposes the              alleges that she suffers from specific
motion only to the extent that the                 disorders,     namely Major Depressive
examinations      would        require     an      Disorder and Post           [*9]   Traumatic
extension of the deadline to complete              Stress Disorder, which rise above the
discovery.                                         level of "garden-variety" emotional
                                                   distress. See Maha Prabhu, 2008 U.S.
   Rule 35 provides that a court may               Dist. LEXIS 74393, 2008 WL 2559417, at
order the mental examination of a                  *3 (explaining that mental condition
party whose mental condition is in                 is in controversy where the harm
controversy.    Fed.R.Civ.P.     35(a).            suffered      is     unusually      severe) .
Courts have generally found the mental             Plaintiff's mental condition therefore
condition   of  a  party   to   be   in            is in controversy for purposes of Rule
controversy where:                                 35.
           (1) the plaintiff has                         1      The court notes that the
     asserted a specific cause of                        independent tort claims have been
     action for intentional or                           dismissed      as    against     the
     negligent    infliction    of                       Department. However, plaintiff's
     emotional distress; (2) the                         mental    condition     remains   in
     plaintiff     has     claimed                       controversy as to the Title VII
     unusually severe emotional                          claim    which    remains    pending
     distress; (3) the plaintiff                         against the Department, insomuch
     has alleged a specific type                         as   plaintiff's    allegations   of
     of    disorder    or    other                       emotional injury may influence
     psychiatric injury; (4) the


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        the award of compensatory damages         opinions expressed by the plaintiff's
        which   plaintiff   seeks.    See         experts in this case, as expressed in
        Bennett v. Fairfax County,  Va.,          their deposition testimony previously
        432   F.Supp.2d   596,   604-605          given; and (2) to enable Drs. Corvin
        (discussing   relationship         of     and Calloway to make an independent,
        compensatory     damages          and     objective    and    verifiable    forensic
        emotional injury in Title         VII     determination as to whether plaintiff
        cases).                                   has,    in    fact,     experienced    and
                                                  sustained     the     psychological    and
    Further,   good cause exists for              physical    symptoms,      injuries    and
ordering the examinations. Good cause             conditions that she and her experts
requires more than a mere showing of              allege    she    has    experienced    and
relevancy.    Guilford    Nat.    Bank   of       sustained. Plaintiff has placed her
Greensboro, 297 F.2d at 924. Here, the            mental condition in controversy, and
Department asserts that an independent            good cause exists to allow these
examination is necessary to provide a             examinations.        Accordingly,      the
counter-expert opinion in response to             Department's motion shall be granted.
the    expert    opinions    offered     by
plaintiff's health care providers. The            CONCLUSION
Department    alleges         [*10]    that
plaintiff's experts employed "highly                 For the reasons set forth above,
questionable       methodologies        and       the Department's motion to submit
practices"    including,    inter     alia,       plaintiff to a mental examination (DE
having no special training in the                 #56)   is GRANTED.   The Department's
treatment     of    sexually      harassed        motion for leave to file a reply (DE
patients,      failing      to      obtain        #61) is DENIED AS MOOT.
plaintiff's medical records, failing
to interview members of plaintiff's                   It   is    further     ORDERED   that
family about her symptoms, and failing            plaintiff   submit    to a psychiatric
to determine whether plaintiff had                examination by Dr.       George Patrick
been subjected to any sexual abuse                Corvin, concerning the nature, cause,
prior to the harassment alleged in                and extent of plaintiff's           [*12]
this case. Courts have determined that            alleged      emotional       or    mental
a defendant in such a position should             conditions, said examination to take
have the opportunity to explore the               place at Dr. Corvin's offices, North
nature,   cause,   and extent of the              Raleigh Psychiatry, P.A., 5530 Munford
alleged emotional injuries in order to            Road,   Suite    119,   Raleigh,    North
defend against such a claim.            See       Carolina, 27612, said examination to
Smith, 2008 U.S.  Dist.      LEXIS   91271,       last not longer than eight hours,
2008 WL 4877131, at *2.    Further, good          concluding    in   one    calendar   day.
cause is typically found where "the               Plaintiff's examination by Dr. Corvin
average    lay    person     would    have        shall   take    place   on    a  mutually
difficulty    evaluating    the    nature,        agreeable day no later than April 10,
extent, and cause of the claimant's               2011.
injuries."   Maha   Prabhu,    2008   U.S.            It   is     further     ORDERED     that
Dist.   LEXIS 74393,   2008 WL 2559417,   at      plaintiff submit to a psychological
*2.   As explained above,      plaintiff          examination           and         associated
alleges     more    than    mere "garden-         psychological tests by Dr. Ginger C.
variety" emotional distress in this               Calloway,     concern1ng      the    nature,
case,   but rather alleges      specific          cause,    and    extent    of    plaintiff's
psychiatric    conditions    which   the          alleged       emotional        or     mental
average    lay    person    would   have          conditions, said examination to take
difficulty    evaluating.   Accordingly,          place at Dr. Calloway's offices, 855
good   cause    exists   to  allow   the          Washington Street, Suite 200, Raleigh,
examinations.                                     North      Carolina,        27605,      said
   It appears to the court that the               psychological examination and testing
purposes of the Department's      [*11]           to last not longer than· eight hours in
proposed psychiatric and psychological            one day, however said examination and
examinations and evaluations of the               testing may continue, if necessary, to
plaintiff are:    (1)  to enable Drs.             a second day, not to last longer than
Corvin   and  Calloway   to  test   and           eight   hours      on   the    second   day.
measure the accuracy, reliability, and            Plaintiff's       examination      by    Dr.
scientific     and       methodological           Calloway    shall     take    place   on   a
soundness of the diagnoses and other              mutually agreeable day no later than



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April 10 I   2011.                          establishing a new dispositive motions
                                            deadline and date for trial. 2 The
   It is further ORDERED that these         current     deadline     for    filing
examinations    of   plaintiff      shall   dispositive motions and the trial date
proceed   without  the   accompany     of   necessarily are set aside.
another,   as  suggested      [*13]    by
plaintiff.                                       2     The parties may reasonably
    The   Department   is ORDERED   to           anticipate that the deadline for
provide copies of the written reports            dispositive   motions    will  be
resulting from these examinations to             thirty (30) days from the final
plaintiff by no later than April 20 1            act of discovery.     The parties
2011. Upon receipt of such reports,              will also recall that the court
plaintiff shall have the opportunity             generally sets trial no sooner
to depose the examining experts. If              than 120 days from the date of
plaintiff desires such an opportunity,           the dispositive motions deadline.
plaintiff shall within ten days of             SO ORDERED,       this   the   11th day   of
receiving the reports file a request        March, 2011.
with the court reporting the position
of the Department as to whether such           /s/ Louise   w.   Flanagan
depositions are agreed to, as well as
a proposed mutually agreeable date for        LOUISE W. FLANAGAN
the    conduct  of   said depositions.         Chief United States District Court
Thereafter, further order will follow       Judge




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               RONNETTE SMITH, Plaintiff, v. BOARD OF GOVERNORS of the
                  UNIVERSITY of NORTH CAROLINA, and its constituent
              institution, NORTH CAROLINA STATE UNIVERSITY AT RALEIGH,
                                     Defendants.
                                   No. 7:08-CV-30-D
              UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
                         NORTH CAROLINA, SOUTHERN DIVISION
                            2008 U.S. Dist. LEXIS 91271

                              November 10, 2008, Decided
                               November 10, 2008, Filed
SUBSEQUENT       HISTORY:     Sanctions          Brunswick County.    Plaintiff alleges
disallowed    by   Smith   v.  Bd.   of          that she suffered mental and emotional
Governors, 2008 U.S. Dist. LEXIS 91302           pain and anguish as a result of the
(E.D.N. C., Nov. 10, 2008)                       discrimination   and  retaliation and
                                                 seeks    compensatory    damages   for
COUNSEL:    [*1] For Ronnette Smith,             emotional distress.
Plaintiff:   Mario   M.  White,   LEAD
ATTORNEY, Mario M. White, Clinton, NC;               Defendants    initially         [*2]
Robert Lewis, Jr., LEAD ATTORNEY, The            requested that Plaintiff consent to a
Lewis Law Firm, P.A., New Bern, NC.              Rule     35    examination     with    a
                                                 psychologist to "assess the validity
For   Board   of   Governors  of   the           of [Plaintiff's] allegations regarding
University of North Carolina, North              her    emotional   distress    and   its
Carolina State University at Raleigh,            causation" (Defs.' Mot. for Rule 35
Defendants:    Joyce    S.   Rutledge,           Exam. Ex. 1) . According to Defendants,
Kimberly D. Potter, LEAD ATTORNEYS,              Plaintiff failed to respond to the
N.C. Department of Justice, Raleigh,             request. Defendants then filed the
NC.                                              present     motion     alleging     that
                                                 Plaintiff's mental condition is in
JUDGES: DAVID W. DANIEL, United States           controversy and that good cause exists
Magistrate Judge.                                for the examination. Plaintiff seeks a
                                                 protective     order    limiting     the
OPINION BY: DAVID W. DANIEL                      duration, scope, and purpose of the
                                                 Rule 35 examination.
OPINION
                                                 II . DI.SCUSSION
ORDER
                                                 A. Plaintiff's mental condition is "in
   This matter is before the Court on            controversy."
Defendants'    motion  for   a   mental
examination of Plaintiff [DE-12] and                Rule 35 provides that on a motion
Plaintiff's    motion  for   protective          for good cause a court may order the
order [DE-13] . Both parties have filed          mental examination of a party whose
responses   [DE-13   & 14] ,  and this           mental condition is in controversy.
matter is ripe for adjudication.                 Fed. R.   Civ. P. 35(a). Courts have
                                                 found the mental condition to be in
I. BACKGROUND                                    controversy where "(1) the plaintiff
                                                 has asserted a specific cause of
   Plaintiff    filed    this    action          action for intentional or negligent
alleging employment discrimination and           infliction of emotional distress; (2)
retaliation on the basis of her race,            the plaintiff has claimed unusually
in violation of Title VII of the Civil           severe emotional distress;    (3)  the
Rights Act of 1964, while she was                plaintiff has alleged a specific type
employed as an Extension Secretary II            of   disorder  or   other  psychiatric
with North Carolina State University's           injury; (4) the plaintiff has offered
Cooperative   Extension    Program   in          her own expert testimony to supplement


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her claim of     [*3] emotional distress;                       each condition as to which
or (5) the plaintiff concedes that her                          the examination is sought is
medical condition is 'in controversy'                           really   and   genuinely  in
pursuant to Rule 35." E.E.O.C. v. Maha                          controversy and that good
Prabhu, Inc., 2008 U.S. Dist. LEXIS                             cause exists for ordering
74393,     2008    WL      2559417,      at     *3              each particular examination.
 (W.D.N.C. June 23, 2008) (citing Turner                        Obviously, what may be good
v. Imperial Stores, 161 F.R.D. 89, 95                           cause   for   one   type  of
 (S.D. Cal. 1995)). While some courts,                          examination may not be so
including the Turner court, have held                           for another. The ability of
that    an   emotional        distress      claim               the movant to obtain the
without     more    does       not    place      a              desired information by other
plaintiff's      mental        condition        in              means is also relevant.
controversy, Turner, 161 F.R.D. at 95,
97, this is not a settled issue, see
Nuskey v. Lambright, 251 F.R.D. 3,                       Schlagenhauf v. Holder, 379 U.S. 104,
2008 WL 2388914,           at   *2    (D.    D. C.       118, 85 S. Ct. 234, 13 L. Ed. 2d 152
2008) (disagreeing       with      Turner     and        (1964).
concluding that an employee seeking
compensatory damages           for    emotional               Defendants      [*5] assert that good
pain and suffering places her mental                     cause exists for a mental examination
condition in controversy for purposes                    of Plaintiff based on the following:
of Rule 35). The Court, however, need                     (1) Plaintiff failed to voluntarily
not    decide     this        issue     because          consent to a mental examination; (2)
Plaintiff in this case concedes that                     Plaintiff's mental condition is at
her     mental       condition         is       in       issue     (e.g.    how    it    affected her
controversy.        ( Pl . 's      Mot.       for        perception of her job performance);
Protective Order at 3.) Plaintiff does                    (3)  Plaintiff may suffer from a pre-
dispute that Defendants have shown                       existing psychological impairment; (4)
good cause for the scope of the mental                   Plaintiff's      asserted        psychological
exam requested. (Id.) Accordingly, the                   distress     and     the     reliability   and
Court must consider whether Defendants                   credibility of her allegations should
have demonstrated good cause for the                     be     assessed       through      a    mental
requested mental exam.                                   examination; and         (5)   Plaintiff may
                                                         present expert testimony to support
B. Good cause       exists    for   a    Rule    35      her claim of emotional distress and
examination.                                             damages, and a mental examination is
                                                         necessary to rebut such testimony.
    Good   [*4] cause requires more than                 Plaintiff argues that Defendants are
a mere showing of relevancy. Guilford                    overreaching and that the requested
Nat. Bank of Greensboro v. S. Ry. Co.,                   examination should be limited (1) to
297 F.2d 921, 924 (4th Cir. 1962) ("The                  whether her emotional distress has a
specific requirement of good cause                       specific diagnosis and (2) to what
would be meaningless if good cause                       extent that emotional distress was
could be sufficiently established by                     caused by her work environment. The
merely    showing    that  the   desired                 Court concludes that good cause exists
materials     are  relevant,   for   the                 for the purpose of determining the
relevancy standard has already been                      nature,     cause,     and extent of any
imposed by Rule 26(b) ."). This inquiry                  emotional distress caused to Plaintiff
is not to be taken lightly by the                        by Defendants and that the scope of
courts, and the Fourth Circuit has                       the examination need not be further
noted its importance in protecting an                    limited.
individual's right to privacy.       Id.
 ("Under Rule 35, the invasion of the                        The fact that Plaintiff did not
individual's privacy by a physical or                    voluntarily consent to an exam is
mental examination is so serious that                     [*6] insufficient to show good cause.
a   strict standard of good cause,                       A lack of consent makes a court order
supervised by the district courts, is                    a procedural necessity if warranted,
manifestly appropriate.") The Supreme                    but provides no substantive support
Court explained that a showing of good                   for Defendants'    request.  The court
cause requires,                                          does agree, however, that Defendants
                                                         have established good cause for a
                   an affirmative                        mental    examination     to   diagnose
      showing by the movant that                         Plaintiff's      asserted     emotional
                                                         distress and to independently assess


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the cause and extent of any emotional             usefulness   [*8] of the proposed tests
distress     caused     to   Plaintiff    by      in this case. (Defs. ' Resp. to Pl. 's
Defendants. See Lytel v. Simpson, 2006            Mot. for Protective Order, Ex. B.)
U.S.    Dist.    LEXIS    53927,    2006  WL      This testing appears reasonable given
2053516, at *4 (N.D. Cal. July, 21                Plaintiff's emotional distress claim.
2006) (concluding that denial of Rule             Likewise, the Court finds unnecessary
35 motion "would deprive [defendant]              the     submission    of    Plaintiff's
of   a   fair     opportunity to      defend      deposition to Dr. Calloway or an order
against      [plaintiff's]      claims    of      limiting Dr. Calloway's questioning of
emotional     distress     in    the   event      Plaintiff about the facts of the case.
 [plaintiff] is later allowed to submit           To   the   extent  evidence   from  Dr.
her treating physician's testimony;"              Calloway's examination, including any
the    court    limited    the    scope   to      tests administered, is irrelevant or
"assessing     the   nature,     cause   and      overreaching, Plaintiff may seek its
extent    of     [plaintiff's]     emotional      exclusion at trial.
distress."). Plaintiff seeks $ 300,000
in damages for emotional anguish and                 A protective order is unnecessary
distress (Pl.'s Initial Disclosures at            to address the other concerns of
2) , and Defendants have a right to               Plaintiff because Rule 35 requires the
explore the nature, cause, and extent             court to specify the scope,        time,
of    Plaintiff's      alleged     emotional      place, manner,   conditions,    and the
distress in order to defend against               person performing     the    examination.
the claim.                                        Fed. R. Civ. P. 35 (a) (2) (B).

C. Protective order unnecessary.                             1. The court finds that
                                                         one eight ( 8) hour day is
    Plaintiff     has     requested    a                 sufficient time to conduct
protective order seeking (1) to limit                    the     examination.      See
 [*7] the scope of questioning, (2) to                   Simonelli v. University of
require further     disclosure by the                    California-Berkeley,    22007
expert as to the relevancy of the                        U.S. Dist. LEXIS 44373, 007
proposed testing,     (3) to limit the                   WL 1655821, at *3 (N.D. Cal.
location of the test to Plaintiff's                      June 4, 2007) (finding that
county of residence, or alternatively                    eight hours is a reasonable
to pay Plaintiff's travel expenses and                   time frame for Plaintiff's
loss of wages, (4) to limit testing to                   psychiatric examination to
one    day,   (5)    to   require   that                 ensure accurate results and
Plaintiff's deposition be submitted to                   prevent overreaching probe) .
Dr.   Calloway,   Defendants'   proposed
examiner, and that Dr. Calloway be                          2. The examination shall
ordered to refrain from questioning                      occur at the office of Dr.
Plaintiff about the facts of the case,                   Calloway in Raleigh, NC, on
and (6) to require that Plaintiff's                      a date agreeable to       [*9]
counsel be present during the exam to                    both parties not later than
protect her rights.                                      forty-five (45) days after
                                                         the entry of this Order.
   Plaintiff argues that,         absent a               Rule 35 does not require
protective     order,    Dr.     Calloway's              Defendants        to       pay
report and testimony may supplant the                    Plaintiff's travel expenses
role   of   the    jury in     determining               or   lost  wages    associated
Plaintiff's     credibility      and    may              with the examination,      and
contain      irrelevant        information               Plaintiff   has     cited   no
regarding         Plaintiff's         prior              authority to     support   her
employment.      These    concerns      are              request.
premature     and     do    not     vitiate
Defendants'    good    cause    shown,   as                3.   Dr.  Calloway shall
Plaintiff may seek exclusion of any                     conduct the examination of
overreaching or irrelevant evidence at                  Plaintiff. She appears to be
trial. Consequently, it is unnecessary                  a suitably licensed examiner
to limit in such a way the scope of                     (Defs.' Resp. to Pl.'s Mot.
Dr. Calloway's examination.                             for Protective Order, Ex. B)
                                                        as required by Rule 35, and
   With    respect   to  the   proposed                 Plaintiff made no objection
testing, Defendants filed an affidavit                  to Dr. Calloway serving as
from   Dr.    Calloway  outlining   the                 examiner.



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                                    III. CONCLUSION
   4.       Plaintiff     also
suggests she has a right to            Defendants' motion for a Rule 35
counsel's presence at the           examination is hereby GRANTED and
examination to protect her          Plaintiff's     [*10]   motion  for a
from improper questioning.          protective order is hereby DENIED.
(Pl. •s Mot. for Protective
Order at 8.) The Court is              It is hereby ORDERED that Plaintiff
not persuaded that Plaintiff        submit to a Rule 35 mental examination
needs    the   protection   of      concerning the nature,         cause,   and
counsel in a civil case such        extent     of     Plaintiff's     emotional
as     this    one.    Neither      distress to be conducted by Dr. Ginger
Plaintiff's counsel nor any         Calloway, on a date agreeable to both
other third-party shall be          parties but not later than forty-five
present in the examination.         (45)   days after the entry of this
See    Holland     v.   United      Order.    The    examination    shall   not
States, 182 F.R.D. 493, 495         exceed more than eight ( 8) hours and
(D.  S.C.   1998) ("The weight      is limited to one (1) day. This Order
of     federal      authority,      modifies      the     parties'      jointly
however,       favors      the      submitted       discovery      plan     and
exclusion of the plaintiff's        scheduling order in this case to the
attorney from a       Rule  35      extent contradictory with the dates
examination       absent     a      set forth herein.
compelling                             This   the   lOth   day   of   November,
reason.") (citations                2008.
omitted).
                                       /s/ David W. Daniel
                                       DAVID W. DANIEL
                                       United States Magistrate Judge




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